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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

RAYMUND A. TAUYAN, CIVIL NO.

Plaintiff,

)
)
)
)
VS. )
)
RELIABLE PARTS, INC., )

)

)

Defendants.

)

COMPLAINT

COMPLAINT; JURY
DEMAND; SUMMONS
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COMES NOW, Plaintiff RAYMUND A. TAUYAN, by and through his
attorneys Charles H. Brower and Michael P. Healy, and for causes of action against
Defendants, alleges and avers as follows:

NATURE OF CASE

1. Plaintiff RAYMUND A. TAUYAN (hereinafter “TAUYAN”) was at all
times mentioned herein a resident of Honolulu, Hawaii and a citizen of the State of
Hawaii.

2. Defendant RELIABLE PARTS, INC., (hereinafter “RELIABLE”) is a
foreign profit corporation incorporated in the State of Washington with a principal
place of business in the State of Hawaii.

3. Plaintiff was hired by Defendant RELIABLE in May 2012, to work in its
warehouse.

4. On November 20, 2018, Plaintiff was terminated from his position due to
disability discrimination by Defendant RELIABLE by the refusal of Defendant to
allow Plaintiff a continued medically necessary reasonable leave of absence, per the
recommendation of his doctor, for his disability of heart failure after Plaintiff's
request for leave.

JURISDICTION
5. The jurisdiction of this Court is pursuant to The Americans With Disability

Act of 1990.
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6. The administrative prerequisites for filing this cause of action have been
fulfilled. A right-to-sue letter was issued by the Equal Employment Opportunity
Commission (“EEOC”) on September 17, 2019, which was received on or after
September 18, 2019.

STATEMENT OF FACTS

7. Plaintiff was hired by Defendant RELIABLE in May 2012.

8. In September 2018, Plaintiff was medically diagnosed with a disability. The
disability is heart failure, which caused Plaintiff to be unable to work, for which he
needed to take a leave of absence.

9. Plaintiff informed Defendant RELIABLE’s management about his medical
condition and inability to work, and requested leave as reasonable accommodation
per his doctor’s recommendation. The leave was allowed.

10. However, in October 2018, Defendant RELIABLE attempted to get
Plaintiff to sign a resignation letter, which Plaintiff declined.

11. In October 2018, Plaintiff requested an additional month of leave for his
disability.

12. Plaintiff also requested to file a Temporary Disability Insurance claim and
was denied by Defendant RELIABLE.

13. In mid November 2018, Defendant RELIABLE insisted that Plaintiff

provide medical documentation that would allow Plaintiff to return to work.
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However, Plaintiff's doctor said he was not ready to return to work and needed to
remain on leave.

14. Plaintiff returned to work, but was unable to perform his job duties at that
time, and needed to continue his leave for medical reasons.

15. On November 20, 2018, Plaintiff was terminated from his position due to
disability discrimination by Defendant RELIABLE by the refusal of Defendant to
give Plaintiff a medically necessary reasonable leave of absence, per the
recommendation of his doctor, for his disability of heart failure after Plaintiff's
request for leave.

16. Prior to Plaintiff's leave and termination with Defendant RELIABLE,
Plaintiff was a good worker in good standing with Defendant.

17. Ifnot for Plaintiffs disability, and Defendant RELIABLE’s refusal to give
Plaintiff reasonable accommodations for his disability, Plaintiff would not have been
terminated from employment.

STATEMENT OF CLAIMS
COUNT I - DISABILITY DISCRIMINATION
18. Plaintiff incorporates paragraphs | through 18, as though fully set forth

herein.
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19. The Americans With Disabilities Act of 1990 prohibits discrimination due
to a disability, and to provide a reasonable accommodation to a person with a
disability.

20. The aforesaid acts and/or conduct of Defendants constitute discrimination

as they were acts and/or failure to act by Defendants and its employees in direct

violation of the Americans With Disabilities Act of 1990.

21. Plaintiff has suffered, as a direct and proximate result of the aforesaid
conduct, damages by way of loss of earnings and earning capacity, loss of fringe and
pension benefits, and other benefits due him.

22. Asa further direct and proximate result of said unlawful conduct, Plaintiff
has suffered the indignity of harassment, the invasion of his right to be free from
unlawful employment practices, and great humiliation, which is manifest in emotional
distress.

23. As a further direct and proximate result of said unlawful employment
practices, Plaintiff has suffered mental anguish, outrage, depression, severe anxiety
about his future and his ability to support himself, harm to his employability and
earning capacity as well as loss of a career advancement opportunity, painful

embarrassment among his friends and co-workers, disruption of his personal life, and
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loss of enjoyment of the ordinary pleasures of everyday life for which he is entitled
to an award of general damages.

24. The actions of Defendants and their employees as described above are
oppressive, outrageous, and otherwise characterized by aggravating circumstances
sufficient to justify the imposition of punitive damages.

WHEREFORE, upon a hearing hereof Plaintiff prays that judgment be
entered on all Counts:

A. For reinstatement of employment with Defendant RELIABLE with

full benefits; and

B. _ For all damages to which Plaintiff is entitled, including general

damages and other damages to be proven at trial; and

C. For special damages, including back pay, front pay and other

expenses; and

D. — For punitive damages; and

E. For attorney’s fees, costs, and interest, including prejudgment

interest; and

F. For such other and further relief as is appropriate.

The total amount of damages prayed for exceeds the minimum jurisdictional

limits of this Court.
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DATED: Honolulu, Hawaii, December 16, 2019.

/s/ Charles H. Brower
CHARLES H. BROWER
MICHAEL P. HEALY
Attorneys for Plaintiff
Raymund A. Tauyan
